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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION


Maersk A/S.                                       $
                                                  $
       Plaintiff.                                 $
                                                  $   Civil Action No.: 3:22-CY -02672-C
                                                  $
                                                  $   IN ADMIRALTY, Rule 9(h)
Unifeeder A/S.                                    6

                                                  $

       Defendant. and                             $
                                                  $

DnB NOR Bank ASA. ct a/.,                         $
                                                  $

       Gamishees.                                 $



                    ORDER GRANTING MOTION FOR ISSUE OF
              WRIT OF MARITIME ATTACHMENT AND GARNISHMENT

       Upon consideration of the Plaintiffs Motion for an Order for issue of a wdt   of maritime

attachment and gamishment, pursuant to Supplemental Rule B, for attachment of property         of

Unifeeder A,/S ("Unifeedei') namely, accounts and deposits and related property ("Accounts")

belonging to Unifeeder in the hands of the Gamishees, and good cause having been shown

therefore, is it hereby

        ORDERED, that the Clerk of the Court issue pursuant to Supplemental Rule B, the

requested writs of attachment for the Accounts;

        ORDERED, that the United States Marshal for this District or such person     as this   Court

shall appoint in place ofthe United States Marshal, shall attach the Accounts with notice to all

persons claiming any interest therein to appear and file their Claims and Answer the Verified

Complaint; and further
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        ORDERED, that the Clerk of this Court is authorized to issue pursuant to Supplemental

Rule B, as detailed in the Verified Complaint, Process of Maritime Attachment and Gamishment

for all assets, cash, funds, credits, wire transfers, accounts, letters ofcredit, electronic fund

transfers, freights, sub-fieights, charter hire, sub-charter hire, or any other tangible and/or

intangible assets belonging to, due, claimed by, being held for or on behalfof, or being

transferred for the benefit of Defendant, including, but not limited to any such assets as may be

in the possession, custody or control of, or being transferred through any gamishee within this

District, and said Order being equally applicable with respect to the issuance and service of

additional writs of maritime attachment and gamishment upon any gamishees in this District not

named herein, pursuant to Rule B of the Supplemental Rules for Certain Admiralty and Maritime

Claims of the Federal Rules of Civil Procedure; and it is further,

        ORDERED, that any person claiming an interest in the property attached or garnished

pursuant to said Order and Rule B writ shall, upon application to the Court, be entitled to a

prompt hearing at which the Plaintiff shall be required to show why the gamishment or

attachment should not be vacated or other reliefgranted; and it is further,

        ORDERED, that supplemental or further writs of maritime attachment and gamishment

may be issued by the Clerk upon application without further Order of the Court; and        it is further,

        ORDERED, that following initial service of       a   writ of maritime attachment and

gamishment on any Gamishee, supplemental service of maritime attachment and gamishment

writs on that Gamishee and related papers may be made by way of facsimile transmission or

email to each such Gamishee and, it is further,
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       ORDERED, that service on any Gamishee             as described above is deemed continuous


thoughout the day from the time ofsuch service through the opening of the Gamishee's

business the next business day; and,   it is further,

       ORDERED, that pursuant to Federal Rule of Civil Procedure 5(bX2XD), each Gamishee

may consent, in writing, to accept service by any other means; and it is further,

       ORDERED, that      a copy   of this Order be served with each said writ of maritime

attachment and gamishment.
                               1,1                      ker*k>
       SO ORDERED       this   J     day   of                             2022




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                                                              C      GS
                                                   EN     R          STATES               CT JUDGE


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